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 6                                  UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9                                                    Case No. 17-CR-00188-LJO-SKO-5
     UNITED STATES OF AMERICA,
10
                                    Plaintiff,        ORDER GRANTING
11                                                    STIPULATION AND REQUEST,
              vs.                                     ALLOWING DEFENDANT TO TRAVEL
12
     MICHELE PICKERELL,
13
                                     Defendant.
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              The Court has read and considered the parties’ Joint Stipulation and Request regarding
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     the request of defendant, Michele Pickerell, to travel to Rio de Janeiro, Brazil, between the
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     dates of May 24, 2018, and June 10, 2018, and for good cause having been shown:
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              IT IS HEREBY ORDERED that the defendant shall be allowed to travel according to the
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21   dates specified in this request and for Pre-Trial Services to temporarily allow the defendant to

22   possess her United States and Brazilian Passports, to be returned to Pre-Trial Services upon

23   return to the United States.
24
     IT IS SO ORDERED.
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26   Dated:     May 10, 2018                                      /s/   Sheila K. Oberto                .
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                                         UNITED STATES MAGISTRATE JUDGE
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